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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
             Plaintiff,                         )
                                                )
v.                                              ) Case No. 4:05CR0098 HEA
                                                )
DANIEL J. DE LA PENA-ARCADIA,                   )
                                                )
             Defendant.                         )


                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant De La Pena-Arcadia’s Motion to

Suppress,[Doc. Nos. 49, 50 and 51].1 The Court referred this matter to United States

Magistrate Judge Frederick R. Buckles for a report and recommendation pursuant to

28 U.S.C. § 636(b).

      On May 12, 2005, a hearing was held before Judge Buckles on Defendant’s

motion, at which testimony and evidence was adduced on the issues raised. Judge

Buckles filed his recommendation on June 22, 2005 that Defendant’s motion be denied.

No objections to the report and recommendation have been filed.

      After careful consideration, the Court will adopt and sustain the sound reasoning

of Judge Buckles as set forth in the Report and Recommendation and will deny


      1
       Defendant filed only one motion, but did so in three parts.
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Defendant’s motion.

      Accordingly,

      IT IS HEREBY ORDERED that the Motion to Suppress filed by Defendant

De La Pena-Arcadia, [Doc. Nos. 49, 50, and 51], is denied.

      Dated this 27th day of July, 2005.



                                        ___________________________________
                                        HENRY EDWARD AUTREY
                                        UNITED STATES DISTRICT JUDGE




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